                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR07-4011-MWB
 vs.                                          REPORT AND RECOMMENDATION
                                                  ON PRETRIAL MOTIONS
 TIMOTHY LEE WILSON and
 KEVIN J. McMULLIN,
               Defendant.
                                ____________________


       This matter is before the court on two motions filed by the defendant Kevin J.
McMullin. On February 23, 2007, the defendants Timothy Lee Wilson and Kevin J.
McMullin were charged in a four-count Indictment with conspiracy to manufacture and
distribute methamphetamine, conspiracy to possess pseudoephedrine for the purpose of
manufacturing methamphetamine, and possession of pseudoephedrine. (See Doc. No. 3)
On August 1, 2007, McMullin filed a motion to dismiss the charges against him for
untimely delay (Doc. No. 33), and a motion to dismiss Count Four of the Indictment on
the basis that Counts Three and Four are duplicative, constituting a violation of his right
against double jeopardy. (Doc. No. 35) The plaintiff (the “Government”) resisted the
motions on August 22, 2007. (Doc. Nos. 41 & 42).
       Pursuant to the trial management order (Doc. No. 22), pretrial motions of this
nature were referred to the undersigned for review and the filing of a recommended
disposition. Accordingly, the court turns to consideration of McMullin’s motions.


                MOTION TO DISMISS DUE TO UNTIMELY DELAY
       The basic facts underlying this motion are undisputed. The drug-related conduct
underlying the charges against McMullin occurred between January 19 and June 7, 2002.



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The Indictment was handed down by the grand jury on February 23, 2007. In the interim,
counsel for the Government had several discussions with law enforcement officers
concerning when, if at all, a federal prosecution would be initiated against McMullin.
McMullin cites reports in the Government’s discovery file indicating those types of
discussions took place on April 3, July 1, and November 12, 2003; and January 23, 2004.
According to McMullin, each of those reports indicates the Assistant United States
Attorney told officers the matter would be prosecuted, and he was in the process of
preparing a cooperation plea agreement for McMullin’s codefendant, Timothy Wilson.
McMullin states the January 2004 report also indicates the Assistant United States Attorney
was interested in contacting McMullin’s attorney to discuss the possibility of pre-
indictment cooperation by McMullin. (See Doc. No. 33-1, ¶¶ 3-6) McMullin alleges, and
the court will accept as true for purposes of his motion, that no attorney had been
appointed to represent him pre-indictment, and apparently no contact occurred between the
Government and McMullin, or any attorney on his behalf, prior to the date of the
Indictment.
        McMullin claims he has been prejudiced as a result of the delay in bringing charges
against him, because if charges had been brought close in time to the underlying events,
McMullin “could have cooperated with the United States Attorney’s Office and law
enforcement for purposes of obtaining Section 3553(e) relief and USSG 5k.1 relief.”
(Doc. No. 33-1, ¶ 8; Doc. No. 33-2, p. 2) McMullin alleges the Government delayed the
Indictment intentionally for purposes of attempting to obtain McMullin’s cooperation “by
having an attorney appointed for him” – something that never occurred. (Doc. No. 33-2,
p. 3)
        The United States Supreme Court has discussed at length the hurdles a defendant
must surmount to prevail on a motion to dismiss for pre-indictment delay, as well as the
reasons for avoiding a requirement that the Government move too hastily to prosecution


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of suspected criminals. The Court’s discussion in United States v. Lovasco, 431 U.S. 783,
97 S. Ct. 2044, 52 L. Ed. 2d 752 (1977), is pertinent to the present motion:
             [S]tatutes of limitations, which provide predictable, legisla-
             tively enacted limits on prosecutorial delay, provide “‘the
             primary guarantee, against bringing overly stale criminal
             charges.’” [United States v. Marion, 404 U.S. 307, 322, 92
             S. Ct. 455, 464, 30 L. Ed. 2d 468 (1971)], quoting United
             States v. Ewell, 383 U.S. 116, 122, 86 S. Ct. 773, 777, 15
             L. Ed. 2d 627 (1966). But we did acknowledge that the
             “statute of limitations does not fully define [defendants’] rights
             with respect to the events occurring prior to indictment,” 404
             U.S. at 324, 92 S. Ct. at 465, and that the Due Process Clause
             has a limited role to play in protecting against oppressive
             delay.
Lovasco, 431 U.S. at 789, 97 S. Ct. at 2048. Accord United States v. Brockman, 183
F.3d 891, 895 (8th Cir. 1999) (quoting Lovasco).
      The Court noted a due process claim becomes “concrete and ripe for adjudication”
upon the defendant’s showing of actual prejudice; however, “‘[a]ctual prejudice to the
defense of a criminal case may result from the shortest and most necessary delays; and no
one suggests that every delay-caused detriment to a defendant’s case should abort a
criminal prosecution.’” Lovasco, 431 U.S. at 789-90, 97 S. Ct. at 2034 (quoting Marion,
404 U.S. at 234-25, 92 S. Ct. at 465). See also United States v. Sturdy, 207 F.3d 448,
452 (8th Cir. 2000) (“The court will inquire into the reasons for delay only where actual
prejudice has been established.”); United States v. Singer, 687 F.2d 1135, 1142-43 (8th
Cir. 1982) (defendant must show delay resulted in “actual prejudice not outweighed by the
reasons for the delay”). In particular, the Court observed:
             [T]he Due Process Clause does not permit courts to abort
             criminal prosecutions simply because they disagree with a
             prosecutor’s judgment as to when to seek an indictment.
             Judges are not free, in defining “due process,” to impose on
             law enforcement officials our “personal and private notions”
             of fairness and to “disregard the limits that bind judges in their

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              judicial function.” Rochin v. California, 342 U.S. 165, 170,
              72 S. Ct. 205, 209, 96 L. Ed. 183 (1952). Our task is more
              circumscribed. We are to determine only whether the action
              complained of – here, compelling respondent to stand trial
              after the Government delayed indictment to investigate further
              – violates those “fundamental conceptions of justice which lie
              at the base of our civil and political institutions,” Mooney v.
              Holohan, 294 U.S. 103, 112, 55 S. Ct. 340, 342, 79 L. Ed.
              791 (1935), and which define “the community’s sense of fair
              play and decency. . . .” [Citations omitted.]
Lovasco, 431 U.S. at 790, 97 S. Ct. at 2049.
       The Court held the interests of the defendant, the Government, the courts, and the
public would not be served by compelling the Government to initiate a prosecution as soon
as prosecutors have probable cause to believe an accused is guilty, or even once sufficient
evidence has been developed to obtain a conviction. Id., 431 U.S. at 790-95, 97 S. Ct.
at 2049-51. The Court noted more information often is needed before a prosecutor can
make a charging decision. Id., 431 U.S. at 794, 97 S. Ct. at 2051. This is particularly
true in a drug conspiracy case like the present one, where further investigation could show
a defendant’s specific role in the conspiracy, rather than simply the fact that he was
involved.   Similarly, further investigation could show a defendant’s role was less
significant than prosecutors at first believed. See id. The Court expressed a reluctance
to adopt a rule that “would preclude the Government from giving full consideration to the
desirability of not prosecuting in particular cases.” Id.
       The Eighth Circuit Court of Appeals also has considered when dismissal is
warranted for pre-indictment delay:
              The Fifth Amendment’s due process clause prohibits unreason-
              able pre-indictment delay. United States v. Sturdy, 207 F.3d
              448, 451-52 (8th Cir. 2000). To establish unreasonable
              pre-indictment delay, a defendant must show that the delay
              resulted in actual and substantial prejudice to his defense, and
              that the government intentionally delayed the indictment to


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              gain a tactical advantage or to harass him. Id. at 452. . . . If
              the defendant fails to establish actual prejudice, we need not
              assess the government’s rationale for the delay. Id.
United States v. Sprouts, 282 F.3d 1037, 1041 (8th Cir. 2002). The Eighth Circuit has
noted “a defendant must overcome a high hurdle when contending that a pre-indictment
delay that does not violate the statute of limitations is violative of the due process clause.”
United States v. Jackson, 446 F.3d 847, 849 (8th Cir. 2006).
       The statute of limitations for the offenses with which McMullin is charges is five
years. See 18 U.S.C. § 3282. There is no question that the charges were brought against
him within the applicable statute of limitations. Thus, to prevail on his motion, McMullin
must carry the burden of proof on both elements; i.e., “that: (1) the delay resulted in
actual and substantial prejudice to the presentation of his defense; and (2) the government
intentionally delayed his indictment either to gain a tactical advantage or to harass him.
[Footnote omitted.]” Jackson, 446 U.S. at 849 (citing United States v. Sturdy, 207 F.3d
448, 452 (8th Cir. 2000); United States v. Grap, 368 F.3d 824, 829 (8th Cir. 2004);
Sprouts, 282 F.3d at 1041).
       McMullin has failed to carry his burden to prove either of these two elements. His
“speculative or conclusory claims of possible prejudice as a result of the passage of time”
cannot establish the type of actual prejudice necessary to warrant dismissal of the charges.
See United States v. Gladney, 474 F.3d 1027, 1031 (8th Cir. 2007) (citing United States
v. Sturdy, 207 F.3d 448, 452 (8th Cir. 2000)). Therefore, McMullin’s motion to dismiss
on the basis of pre-indictment delay should be denied.


       MOTION TO DISMISS COUNT FOUR DUE TO DOUBLE JEOPARDY
       In this motion (Doc. No. 35), McMullin argues Counts 3 and 4 of the Indictment
are duplicate charges, requiring proof of the same facts, and they therefore violate his Fifth
Amendment right against double jeopardy.


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      Count 3 of the Indictment charges as follows:
                    On or about June 6 through June 7, 2002, in the
             Northern District of Iowa, the defendants, TIMOTHY LEE
             WILSON and KEVIN J. McMULLIN, did knowingly and
             intentionally possess and aid and abet in the possession of
             pseudoephedrine, a List I chemical, with intent to manufacture
             methamphetamine, a Schedule II controlled substance.
                    This was in violation of Title 21, United States Code,
             Section 841(c)(1), and Title 18, United States Code, Section 2.
(Doc. No. 3, p. 3)
      Count 4 of the Indictment charges as follows:
                    On or about June 6 through June 7, 2002, in the
             Northern District of Iowa, the defendants, TIMOTHY LEE
             WILSON and KEVIN J. McMULLIN, did knowingly and
             intentionally possess and aid and abet in the possession of
             pseudoephedrine, a List I chemical, knowing and having
             reasonable cause to believe that the pseudoephedrine would be
             used to manufacture methamphetamine, a Schedule II
             controlled substance.
                    This was in violation of Title 21, United States Code,
             Section 841(c)(2), and Title 18, United States Code, Section 2.
(Doc. No. 3, pp. 3-4)
      McMullin notes the question of whether charges under subsections 841(c)(1) and
841(c)(2) are duplicative appears to be a matter of first impression in any federal court.
Indeed, the court has been unable to locate a case addressing the issue from any circuit,
and the parties have cited no authorities comparing the two statutes.          However, a
substantial body of case law exists addressing the proper analysis the court should employ
in considering a double jeopardy argument.
      “The Double Jeopardy Clause ‘protects against multiple punishments for the same
offense.’” United States v. Ervasti, 201 F.3d 1029, 1039 (8th Cir. 2000) (quoting North
Carolina v. Pearce, 395 U.S. 711, 717, 89 S. Ct. 2072, 2076, 23 L. Ed. 2d 656 (1969),


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overruled on other grounds, Alabama v. Smith, 490 U.S. 794, 109 S. Ct. 2201, 104 L. Ed.
2d 865 (1989)). “‘In order to support a claim of double jeopardy, a defendant must show
that the two offenses charged are in law and fact the same offense.’” Id. (quoting United
States v. Bennett, 44 F.3d 1364, 1368 (8th Cir. 1995)). Here, the court must determine
whether the offenses set forth in subsections 841(c)(1) and 841(c)(2) are the same for
purposes of double jeopardy.
      As the Eighth Circuit Court of Appeals explained in Ervasti:
             Our starting point in determining whether [the charged
             offenses] are the “same offense” for double jeopardy purposes
             is the same elements analysis of Blockburger v. United States,
             284 U.S. 299, 52 S. Ct. 180, 76 L. Ed. 306 (1932), which
             provides: “[W]here the same act or transaction constitutes a
             violation of two distinct statutory provisions, the test to be
             applied to determine whether there are two offenses or only
             one, is whether each provision requires proof of a fact which
             the other does not.” 284 U.S. at 304, 52 S. Ct. 180.
Ervasti, 201 F.3d at 1039.
      The Supreme Court has summarized the Blockburger test as follows:
                    In both the multiple punishment and multiple prosecu-
             tion contexts, this Court has concluded that where the two
             offenses for which the defendant is punished or tried cannot
             survive the “same-elements” test, the double jeopardy bar
             applies. See, e.g., Brown v. Ohio, 432 U.S. 161, 168-169, 97
             S. Ct. 2221, 2226-2227, 53 L. Ed. 2d 187 (1977);
             Blockburger v. United States, 284 U.S. 299, 304, 52 S. Ct.
             180, 182, 76 L. Ed. 306 (1932) (multiple punishment);
             Gavieres v. United States, 220 U.S. 338, 342, 31 S. Ct. 421,
             422, 55 L. Ed. 489 (1911) (successive prosecutions). The
             same-elements test, sometimes referred to as the
             “Blockburger” test, inquires whether each offense contains an
             element not contained in the other; if not, they are the “same
             offence” and double jeopardy bars additional punishment and
             successive prosecution.



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United States v. Dixon, 509 U.S. 688, 696, 113 S. Ct. 2849, 2856, 125 L. Ed. 2d 556
(1993). See Lewis v. United States, 523 U.S. 155, 177, 118 S. Ct. 1135, 1147, 140 L.
Ed. 2d 271 (1998) (Scalia, J. and Thomas J., concurring) (“Two offenses are different,
for double jeopardy purposes, whenever each contains an element that the other does
not. . . . That test can be easily and mechanically applied, and has the virtue of producing
consistent and predictable results.”) (citing Blockburger, 284 U.S. at 304, 52 S. Ct. at
182). See also McIntyre v. Caspari, 35 F.3d 338, 340 (8th Cir. 1994) (“[T]he Supreme
Court has made clear that the Blockburger ‘same-elements’ test is the sole standard by
which we must determine whether a subsequent prosecution violates the Double Jeopardy
Clause.” [Citations omitted.]).
       Subsection 841(c)(1) requires proof of the following elements: (1) the defendant
possessed a listed chemical; (2) possession of the chemical was knowing or intentional; and
(3) the defendant intended to manufacture a controlled substance with the chemical. 21
U.S.C. § 841(c)(1). Subsection 841(c)(2) requires proof of the following elements: (1) the
defendant possessed a listed chemical; (2) possession of the chemical was knowing or
intentional; and (3) the defendant knew, or reasonably believed, that the chemical would
be used to manufacture a controlled substance. 21 U.S.C. § 841(c)(2); United States v.
Beltz, 385 F.3d 1158, 1162 (8th Cir. 2004). Thus, the two subsections share two common
elements; i.e., possession of a listed chemical, and that the possession of the chemical was
knowing or intentional.
       Where the two subsections differ is in the intent element. Subsection (c)(1) requires
proof that the defendant possessed the chemical with the “intent to manufacture” a
controlled substance – methamphetamine, in this case. In other words, the defendant,
himself, intended to manufacture a controlled substance with the listed chemical.
Subsection (c)(2) requires proof that the defendant either knew, or reasonably believed,
that the chemical would be used to manufacture a controlled substance. To satisfy the


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intent element of subsection (c)(2), the defendant could have known or believed the listed
chemical would be used by someone else to manufacture a controlled substance.
       Nevertheless, McMullin argues that “[e]very violation of 21 U.S.C. Section
841(c)(2) [sic] is also a violation of 21 U.S.C. Section 841(c)(2).” (Doc. No. 35-2, p. 3)
He states, “There is no difference between possessing pseudoephedrine with intent to
manufacture methamphetamine and possessing pseudoephedrine knowing that it will be
used to manufacture methamphetamine.” (Doc. No. 35-1, ¶ 7) While it may be true that
a violation of subsection (c)(1) automatically would violate subsection (c)(2), the reverse
is not true. Possessing a listed chemical with the knowledge or reasonable belief that it
will be used to manufacture a controlled substance differs from possession with the intent
to manufacture a controlled substance. In the former case, the act of manufacturing the
controlled substance could be accomplished by someone other than the person who
possesses the chemical, as in the case of someone who obtains pseudoephedrine pills and
supplies them to another who uses the pills to manufacture methamphetamine.
       However, because a violation of subsection 841(c)(1) ipso facto constitutes a
violation of subsection 841(c)(2), the court finds possession of a listed chemical under
subsection 841(c)(2) is a lesser included offense of possession of a listed chemical under
subsection 841(c)(1). The two subsections differ only in that subsection (c)(1) requires that
the defendant intended to manufacture the controlled substance himself, rather than simply
knowing or reasonably believing the substance would be used to manufacture a controlled
substance. See generally United States v. Carpenter, 422 F.3d 738, 747 (8th Cir. 2005)
(finding offense of manufacturing methamphetamine to be lesser included offense of
manufacturing within 1,000 feet of a school); United States v. Johnson, 417 F.3d 990, 998
(8th Cir. 2004) (finding offense of illegally tampering with an automobile by operation to
be lesser included offense of automobile theft). Stated another way, in order to convict
McMullin of violating subsection 841(c)(1), the jury must necessarily find that each


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element of subsection 841(c)(2) has been established; McMullin could not possess
pseudoephedrine with the intent to manufacture methamphetamine absent the knowledge
that the pseudoephedrine he possessed was intended to be used in manufacturing metham-
phetamine.
       This conclusion does not mandate dismissal of Count 4, however. The Government
may introduce evidence at trial that the pseudoephedrine possession by McMullin on
June 6-7, 2002, was purchased at two distinct times with two distinct intents – one
purchase with the intent to use the pseudoephedrine to manufacture methamphetamine
himself, and one purchase with the knowledge or belief that someone else was going to use
the substance to manufacture methamphetamine. “While a defendant may be tried for
lesser and greater offenses during the same trial, a judgment of conviction and punishment
for both violates the double jeopardy clause.” Carpenter, 422 F.3d at 747 (citing United
States v. Jelinek, 57 F.3d 655, 660 (8th Cir. 1995)). Thus, the Government may introduce
evidence supporting both Counts at trial, and it will be the trial court’s decision whether
or not to submit both Counts to the jury. Accordingly, McMullin’s motion to dismiss
Count Four should be denied at this stage of the proceedings, without prejudice to its
renewal, if appropriate, at the close of the evidence at trial.


                                      CONCLUSION
       For the reasons set forth above, IT IS RESPECTFULLY RECOMMENDED that
McMullin’s motion to dismiss due to pre-indictment delay, and his motion to dismiss
Count Four on the basis of double jeopardy, be denied. Any party who objects to this
Report and Recommendation must serve and file specific, written objections by




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September 5, 2007.    Any response to the objections must be served and filed by
September 10, 2007.
     IT IS SO ORDERED.
     DATED this 28th day of August, 2007.




                                     PAUL A. ZOSS
                                     CHIEF MAGISTRATE JUDGE
                                     UNITED STATES DISTRICT COURT




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